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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                    ORDER REGULATING
                                                                    PROCEEDINGS
             -against-

                                                                    22 Cr. 240 (AKH) (BCM)
 SUNG KOOK (BILL) HWANG and
 PATRICK HALLIGAN,

                                        Defendants.
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Several open issues concerning Defendants' restitution obligations are set to be

resolved at the July 22, 2025 sentencing hearing:

    1. The timing of, and procedures for, liquidating Defendants' assets that are not ready for

        liquidation.

    2. The establishment of an escrow or some other airnngement giving the Government

        control over timing of sales, sale decisions, and escrow of sale proceeds.

    3. Defendants' remission of 15% of their monthly gross income, from the date the judgment

        is entered through the date of their surrender to the custody of the Bureau of Prisons, to

        be kept in escrow.

                Any and all submissions by the paities as to these matters, or any other issues

relating to sentencing, shall be filed by July 15, 2025.




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               By July 15, 2025, the pai1ies shall submit (via email to

HellersteinNYSDChambers@nysd.uscourts.gov) a joint list of the attorneys expected to appear

on the record at the final sentencing hearing.



         SO ORDERED.

Dated:         July~025
               New York, New York
                                                     United States District Judge




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